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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                            UNITED STATES DISTRICT COURT                                  June 01, 2023
                             SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                                 HOUSTON DIVISION

GALE J. NICOLAS,                                  §
                                                  §
         Plaintiff,                               §
                                                  §
VS.                                               §   CIVIL ACTION NO. 4:22-CV-02046
                                                  §
DEUTSCHE BANK NATIONAL TRUST                      §
COMPANY, et al.,                                  §
                                                  §
         Defendants.                              §

                                      FINAL JUDGMENT

       Plaintiff Gail Nicolas brought this suit in state court against Defendants Deutsche Bank

National Trust Co. and PHH Mortgage Corp., and Defendants then removed it to this Court.

(Doc. 1.) Defendants moved for summary judgment (Doc. 12). Plaintiffs did not oppose the

Motion, and the Court granted Defendant’s Motion for Summary Judgment at a hearing on May

17, 2023, for the reasons stated on the record.

       Pursuant to Federal Rule of Civil Procedure 58(a), and for the reasons set forth at the

hearing, final judgment is hereby ENTERED for Defendants.

       IT IS SO ORDERED.

       Signed at Houston, Texas on June 1, 2023.


                                                      _______________________________
                                                      Keith P. Ellison
                                                      United States District Judge
